                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE
            Case 3:20-cr-00040-K   NORTHERN
                                 Document     DISTRICT
                                          21 Filed        OF TEXAS
                                                   10/14/21  Page 1 of 1 PageID 30
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                                  §
                                                          §
VS,                                                       §       CASE NO.: 3:20-CR-040-K (01)
                                                          §
EDWARD MANUEL JAQUEZ-MORENO                               §

                                     REPORT AND RECOMMENDATION
                                      CONCERNING PLEA OF GUILTY

        EDWARD MANUEL JAQUEZ-MORENO, by consent, under authority of United States v. Dees,
125 F.3d 261 (5th Cir. 1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a
plea of guilty to the One Count Indictment, filed on January 28, 2020. After cautioning and examining
Defendant Edward Manuel Jaquez-Moreno, under oath concerning each of the subjects mentioned in
Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense charged is
supported by an independent basis in fact containing each of the essential elements of such offense. I
therefore recommend that the plea of guilty be accepted, and that Defendant Edward Manuel Jaquez-
Moreno, be adjudged guilty of Illegal Reentry After Removal from the United States, in violation of 8
USC § 1326(a) and (b)(1) and have sentence imposed accordingly. After being found guilty of the offense
by the district judge.

□       The defendant is currently in custody and should be ordered to remain in custody.

□       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear
        and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        □       The Government does not oppose release.
        □       The defendant has been compliant with the current conditions of release.
        □       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to
                any other person or the community if released and should therefore be released under § 3142(b) or
                (c).

        □       The Government opposes release.
        □       The defendant has not been compliant with the conditions of release.
        □       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

□       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
        shown under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        Signed October 14, 2021.                          ___________________________________
                                                          UNITED STATES MAGISTRATE JUDGE


                                                      NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).
